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IN THE UNITED STATES DISTRICT COURT save nie Vly (|: 3b
FOR THE DISTRICT OF MARYLAND MI Ao TM

UNITED STATES OF AMERICA

v. * CRIMINAL NO. GJH-19-96 a

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CHRISTOPHER PAUL HASSON, (Unlawful Possession of Unregistered
Firearm Silencers, 26 U.S.C.

§ 5861(d); Unlawful Possession of
Firearm Silencers Unidentified by
Serial Number, 26 U.S.C. § 5861(i);
Possession of Firearms by Unlawful
User of and Addict to a Controlled
Substance, 18 U.S.C. § 922(g)(3);
Possession of a Controlled Substance,
21 U.S.C. § 844; Forfeiture, 18 U.S.C.
# § 924(d), 26 U.S.C. § 5872(a),

# 28 U.S.C. § 2461(c))

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Defendant

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SUPERSEDING INDICTMENT

COUNT ONE
(Unlawful Possession of Unregistered Firearm Silencers)

The Grand Jury for the District of Maryland charges that:
On or about February 15, 2019, in the District of Maryland, the defendant,
CHRISTOPHER PAUL HASSON,
knowingly possessed firearm silencers, as defined in 26 U.S.C. § 5845(a)(7) and 18 U.S.C.
§ 921(a)(24)—-specifically, one assembled firearm silencer and one disassembled firearm
silencer—neither of which was registered to the defendant in the National Firearms Registration

and Transfer Record.

26 U.S.C. § 5861(d)
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COUNT TWO
(Unlawful Possession of Firearm Silencers Unidentified by Serial Number)

The Grand Jury for the District of Maryland further charges that:
On or about February 15, 2019, in the District of Maryland, the defendant,
CHRISTOPHER PAUL HASSON,
knowingly possessed firearm silencers, as defined in 26 U.S.C. § 5845(a)(7) and 18 U.S.C.
§ 921(a)(24)—-specifically, one assembled firearm silencer and one disassembled firearm
silencer—neither of which was identified by a serial number as required by Chapter 53 of Title

26, United States Code.

26 U.S.C. § 5861(i)
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COUNT THREE
(Possession of Firearms by Unlawful
User of and Addict to a Controlled Substance)
The Grand Jury for the District of Maryland further charges that:
On or about February 15, 2019, in the District of Maryland, the defendant,
CHRISTOPHER PAUL HASSON,
knowing he was an unlawful user of and addicted to a controlled substance as defined in 21
U.S.C. § 802, knowingly possessed firearms—that is: (1) a Stag Arms AR15 5.56mm rifle; (2) a
Ruger CQR Model X15 rifle; (3) a DPMS Panther Arms 308 Model LR-308 rifle; (4) a Bergara
308 rifle; (5) a Remington Model 241 .22 caliber rifle; (6) a Ranger 101-16 .22 caliber rifle;
(7) a Marlin Model 795 rifle; (8) a Remington 870 shotgun; (9) another Remington 870 shotgun;
(10) a Glock handgun; (11) an H&K handgun; (12) a Sig Sauer Model 1911 handgun;
(13) a Springfield .45 caliber handgun; (14) an R Guns revolver; (15) an RG 14 revolver;

(16) an assembled firearm silencer; and (17) a disassembled firearm silencer—and the firearms

were in and affecting commerce.

18 U.S.C. § 922(g)(3)
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COUNT FOUR
(Possession of a Controlled Substance)

The Grand Jury for the District of Maryland further charges that:
On or about February 15, 2019, in the District of Maryland, the defendant,
CHRISTOPHER PAUL HASSON,

did knowingly and intentionally possess Tramadol, a Schedule IV controlled substance.

21 U.S.C. § 844(a)
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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant
that the United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.
§ 924(d), 26 U.S.C. § 5872(a), and 28 U.S.C. § 2461(c), in the event of the defendant’s
conviction under Count One, Count Two, and Count Three of this Superseding Indictment.

Firearms Forfeiture

2. As aresult of the offenses set forth in Count One, Count Two, and Count Three,

the defendant,
CHRISTOPHER PAUL HASSON,

shall forfeit to the United States the firearms and firearm silencers identified in Count One,

Count Two, and Count Three and involved in those offenses.

18 U.S.C. § 924(d)
26 U.S.C. § 5872(a)
28 U.S.C. § 2461(c)

Robert K. Har Aid
Robert K. Hur —
United States Attorney

A TRUE BILL:

SIGNATURE REDACTED

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Date: August 14, 2019
